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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                              CR 19–49–M–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 KRISTAL PATRICIA LEONARD,

                      Defendant.

      United States Magistrate Judge Kathleen L. DeSoto entered Findings and

Recommendation in this matter on February 10, 2020. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge DeSoto recommended this Court accept Kristal Patricia Leonard’s

guilty plea after Leonard appeared before her pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of possession with the

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intent to distribute methamphetamine in violation of 21 U.S.C. § 841(a)(1), as set

forth in Count II of the Indictment. Defendant further agrees to the forfeiture

allegation in the Indictment. In exchange for Defendant’s plea, the United States

has agreed to dismiss Count I of the Indictment.

      I find no clear error in Judge DeSoto’s Findings and Recommendation (Doc.

72), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Kristal Patricia Leonard’s motion to

change plea (Doc. 56) is GRANTED and Kristal Patricia Leonard is adjudged

guilty as charged in Count II of the Indictment.

      DATED this 26th day of February, 2020.




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